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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  UNITED STATES OF AMERICA,                     )
                                                )
                 Plaintiff,                     )
                                                )
         v.                                     )            C.A. No. 20-1744-CFC
                                                )
  WALMART INC. AND WAL-MART                     )
  STORES EAST, LP,                              )
                                                )
                 Defendant.                     )
                                                )

    STIPULATION AND [PROPOSED] ORDER AUTHORIZING DISCLOSURE OF
         DELAWARE PRESCRIPTION MONITORING PROGRAM DATA

        The Delaware Office of Controlled Substances (“Delaware OCS”) and Defendants

 Walmart Inc. and Wal-Mart Stores East, LP (together, “Walmart”), pursuant to the Protective Order,

 paragraph 86, (D.I. 88) in the above-captioned action (this “Litigation”), respectfully submit this

 Stipulation and Proposed Order Authorizing Disclosure of Delaware Prescription Monitoring

 Program Data.

        WHEREAS, the Delaware OCS maintains Delaware’s Prescription Monitoring Program,

 an electronic system to collect and store controlled-substance dispensing information for the state

 of Delaware (“PMP Database”).

        WHEREAS, Walmart served a subpoena on the Delaware OCS on October 29, 2024,

 requesting, among other information, certain PMP Database records.

        WHEREAS, it is the Delaware OCS’s position that Delaware law requires an Order from

 this Court to permit the disclosure of PMP Database records. See 16 Del. C.§ 4798(k)-(l).

        WHEREAS, the Delaware OCS and Walmart recognize that the PMP Database records

 may require specific handling and designation under the Protective Order.
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        IT IS HEREBY STIPULATED AND AGREED, by and between the parties, subject to the

 approval of this Court and pursuant to the Court’s authority under Fed. R. Civ. P. 26(c), that:

 1. The Delaware OCS shall, consistent with the Protective Order, produce all PMP Database

    records for prescriptions written by Patrick Titus (DE CSR # MD3949).

 2. The Delaware OCS shall, consistent with the Protective Order, produce all PMP Database

    records for prescriptions dispensed at pharmacies located at the Department of Veterans

    Affairs Medical Center in Wilmington and the Dover Air Force Base between June 26, 2013,

    and February 1, 2024, to the extent available.

 3. The Delaware OCS shall produce the aforementioned PMP Database records with all available

    data fields except patient name, birthdate, and address, which will be replaced by a unique

    patient identifier, birth year, and zip code.

 4. If a patient appears in more than one of the foregoing PMP Database record sets, the Delaware

    OCS shall assign the same unique identifier to that patient across all record sets.

 5. This stipulation does not waive any party’s right to seek or oppose the production of additional

    PMP Database records or fields.

 6. In accordance with the Protective Order, the Delaware OCS shall designate PMP Database

    records as “Highly Confidential – Protected Health Information.”
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    /s/ Eileen Kelly                                    /s/ Kelly E. Farnan
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                                                        and Wal-Mart Stores East, LP


 Dated: May 12, 2025



       SO ORDERED this               day of                , 2025.




                                              Honorable Eleanor G. Tennyson
                                              United States Magistrate Judge
